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                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


 KANE COUNTY, UTAH (2), (3) and (4),
 a Utah political subdivision; and STATE OF                 RESOLUTION OF MOTION
 UTAH,                                                        FOR OTHER RELIEF
         Plaintiffs,
 v.
                                                            Case No. 2:10-cv-01073
 UNITED STATES OF AMERICA,                                  Consolidated with:2:11-cv-1031 and
                                                            2:12-cv-476
         Defendant,
                                                            Judge Clark Waddoups
 SOUTHERN UTAH WILDERNESS
 ALLIANCE, et al.,

         Permissive Intervenor-Defendants.




       On July 19, 2024, Plaintiffs Kane County, Utah and the State of Utah filed a Request for

Hearing for an issue pertaining to K6000 House Rock Valley Road. The court informed the parties

that it was “treating the request as a Motion for Hearing and other relief.” Order, at 1 (ECF No.

794). The court held an evidentiary hearing on August 21–22, 2024, where Kane County put on

evidence about the need for a culvert at Buckskin Wash on K6000 to address public safety and

maintenance issues when flood waters cover the road. Kane County further put on evidence about

the history concerning culvert installations, and how it is a necessary part of the County’s standard

maintenance practices. No contrary evidence was presented about the need for a culvert at

Buckskin Wash or that Kane County has a long history of installing culverts as part of its

maintenance program to keep roads in operable condition.


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       Following the presentation of evidence, the court asked the parties how they wanted to

proceed. The court heard argument from Kane County and the United States. After hearing

argument, the court stated that in its August 9, 2024 memorandum decision, the court held that

Kane County holds vested title in K6000 House Rock Valley Road, as an R.S. 2477 road, because

K6000 was an established and documented Class B road prior to October 21, 1976. The court

further stated that it held, in the same memorandum decision, that a holder of vested title in an R.S.

2477 road may proceed with maintenance activities as of right.

       Based on the court’s prior rulings and the evidence presented concerning maintenance,

Kane County withdrew its request for further relief. Accordingly, the motion for other relief is

now moot (ECF No. 786).

       DATED this 22nd day of August, 2024.

                                               BY THE COURT:


                                               ________________________________________
                                               Clark Waddoups
                                               United States District Court




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